                      2:24-mj-07161-EIL # 3         Filed: 10/03/24           Page 1 of 1
                                                                                                                         E-FILED
                                                                             Thursday, 03 October, 2024 01:19:38 PM
                                                                                        Clerk, U.S. District Court, ILCD




                              UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF ILLINOIS
                                        OFFICE OF THE CLERK
                                              TEL: 217.492.4020
                                              FAX: 217.492.4028



                                            October 3, 2024



U.S. District Court
Attn: Criminal Division
400 North Miami Avenue, Room 8
Miami, FL 33128

RE: USA v. Eric James Rennert
CD/IL Case # 24-MJ-7161 Southern District of Florida Case # 24-20425

Dear Clerk of Court:

On, 10/3/2024 , this Court held Rule 5 proceedings for the above named defendant who has been
charged in your court. We are an electronic filing court and you may find any documents you
need by accessing our electronic case file at the following address: http://ecf.ilcd.uscourts.gov

If you have any questions, please feel free to contact the Urbana office.

Very truly yours,

SHIG YASUNAGA,
CLERK OF COURT




     Peoria Division           Urbana Division              Springfield Division            Rock Island Division
     100 N.E. Monroe St.       201 S. Vine St.              600 E. Monroe St.               (Temporarily relocated for
     Room 305                  Room 218                     Room 151                        mail and hearings to):
     Peoria, IL 61602          Urbana, IL 61802             Springfield, IL 62701           131 E. 4th Street, Rm 250
     309.671.7117              217.373.5830                 217.492.4020                    Davenport, IA 52801
                                                                                            309.793.5778
